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                IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF HAWAI‘I

    OHANA MILITARY COMMUNITIES,              CIVIL NO. 18-00042 KJM
    LLC and FOREST CITY
    RESIDENTIAL MANAGEMENT,                  PLAINTIFFS OHANA MILITARY
    LLC,                                     COMMUNITIES, LLC AND
                                             FOREST CITY RESIDENTIAL
                      Plaintiffs,            MANAGEMENT, LLC’S REPLY
                                             MEMORANDUM IN SUPPORT OF
          vs.
                                             MOTION TO DISMISS
                                             DEFENDANT CARA BARBER’S
    CARA BARBER,                             COUNTERCLAIM [DOC 27];
                      Defendant.             CERTIFICATE OF COMPLIANCE;
                                             CERTIFICATE OF SERVICE

                                             HEARING DATE: August 6, 2018
                                             TIME: 10:00 a.m.
                                             JUDGE: Kenneth J. Mansfield
                                             TRIAL: June 12, 2019
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         PLAINTIFFS OHANA MILITARY COMMUNITIES, LLC AND
        FOREST CITY RESIDENTIAL MANAGEMENT, LLC’S REPLY
          MEMORANDUM IN SUPPORT OF MOTION TO DISMISS
         DEFENDANT CARA BARBER’S COUNTERCLAIM [DOC 27]

                The causes of action in Cara Barber’s Counterclaim are

   frivolous at best and malicious at worst, and they should be quickly

   dismissed. Nothing in the Opposition changes this conclusion. To the

   contrary, the Opposition memorandum exemplifies the approach that

   Ms. Barber’s attorneys have taken in this litigation: it cites and discusses

   outdated and state-court pleading standards rather than the applicable

   federal standard; it hides the fact that, four weeks ago, the Ninth Circuit

   expressly reversed the dismissal of the Motion for Preliminary Injunction

   (the “PI Motion”); and it fails to respond to the actual arguments made in

   the Motion to Dismiss the Counterclaim (“MTD”). The Counterclaim

   should be dismissed with prejudice.

   I.     THE COUNTERCLAIM FAILS TO MEET THE CURRENT,
          FEDERAL PLEADING REQUIREMENTS

                Ms. Barber claims that Ohana and FCRM’s MTD “does not

   comport with the standards that govern a motion to dismiss for failure to

   state a claim,” but then proceeds to cite pre-Twombly district court cases and

   a Hawai‘i state case for what she contends is the applicable standard. See

   Opp. at 3-4. This is plainly not the current or applicable law.
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                For instance, Ms. Barber cites to Kawakami v. Kahala Hotel

   Investors, LLC, No. SCWC-XX-XXXXXXX, 2018 WL 3197543, at *7 (Haw.

   2018) (interpreting Rule 8 of the Hawai‘i Rules of Civil Procedure), for the

   proposition that pleading standards are liberal. While that proposition is

   generally true, there are nevertheless specific and well-established standards

   under federal law, which must be met in order for a counterclaim to proceed.

   Ms. Barber simply ignores these standards.

                Ms. Barber also focuses on the general requirement that the

   Court should accept as true all well-pleaded factual allegations and construe

   them in the light most favorable to the plaintiff. See Opp. at 6. But this rule

   only applies if there are sufficient facts actually alleged. The

   Counterclaim’s conclusory allegations are insufficient. See, e.g., Soriano v.

   Wells Fargo Bank, N.A., No. CIV. 11-00044 SOM, 2012 WL 1536065, at

   *5 (D. Haw. Apr. 30, 2012) (“First, to be entitled to the presumption of

   truth, allegations in a complaint or counterclaim may not simply recite the

   elements of a cause of action, but must contain sufficient allegations of

   underlying facts to give fair notice and to enable the opposing party to

   defend itself effectively. Second, the factual allegations that are taken as

   true must plausibly suggest an entitlement to relief, such that it is not unfair




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   to require the opposing party to be subjected to the expense of discovery and

   continued litigation.”) (citation omitted; emphasis added).

                Ms. Barber also attempts to cure the pleading deficiencies in

   each of her counts by pointing to language relating to the incorporation of

   “all” prior factual assertions. This fails for two reasons. First, it presumes

   that there actually are sufficient factual allegations to state a claim in the

   “Statement of Facts”; as discussed below, there is not. Second, while it is

   common for specific counts to incorporate by reference more detailed

   allegations contained elsewhere in a complaint, this sort of pleading is

   improper where, as here, it is impossible to tell which facts the claimant is

   relying upon to assert each cause of action. See, e.g., Heejoon Chung v. U.S.

   Bank, N.A., 250 F.Supp.3d 658, 678 (D. Haw. 2017) (“[T]he only way

   Plaintiff's Count II claim can be predicated on the 2015 communications is if

   ‘incorporation by reference’ of the allegations contained elsewhere in the

   Complaint suffices to state a claim. . . . However, courts have generally

   rejected this practice, commonly known as shotgun or puzzle pleading.”);

   Schwartz v. Bank of Am., N.A., No. CV 12-00525 KSC, 2013 WL 12132070,

   at *3 (D. Haw. Jan. 7, 2013) (recognizing that a shotgun pleading that

   incorporates other factual allegations by reference “is not permitted”).




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   II.   EACH CLAIM IN THE COUNTERCLAIM FAILS FOR
         INDEPENDENT REASONS

         A.     The Conduct Alleged By Ms. Barber Does Not Constitute a
                Breach of the Settlement Agreement

                Ms. Barber has not properly pled a breach of contract claim

   because she has failed to provide sufficient facts to allow a reasonable

   inference to be drawn that Ohana and/or FCRM could be liable for breach of

   the settlement agreement. She tries to cure this deficiency in her Opposition

   by generally asserting that some “information concerning the settlement”

   was allegedly disclosed by a third party (the Navy), see Opp. at 7, but she

   does not point to any factual allegations regarding the nature of the

   information that was actually provided and/or how such disclosure breached

   the confidentiality provision of the settlement agreement, see, e.g., Schwartz

   v. Bank of Am., N.A., No. CV 12-00525 KSC, 2013 WL 12132070, at *5 (D.

   Haw. Jan. 7, 2013) (recognizing that a breach of contract claim requires a

   plaintiff to identify, among other things, “when and how the Defendant

   allegedly breached the contract”).

                Ms. Barber’s claim also fails because, to the extent she alleges

   any facts, they simply do not constitute a breach of the settlement

   agreement. In her Opposition, Ms. Barber states that “[t]he factual basis for

   this claim is set forth in paragraphs 19 and 20 of the Counterclaim in which



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   Barber alleges that the United States Navy, one of the owners of

   Counterclaim Defendant Ohana, provided information concerning the

   settlement to Reuter’s News Service.” Opp. at 7. But in those paragraphs,

   Ms. Barber alleges that the Navy was compelled to produce the relevant

   information pursuant to a demand under the Federal Freedom of Information

   Act. This type of compelled production does not constitute a breach of the

   settlement agreement. Moreover, even if it could constitute a breach, it

   would be a breach by the Navy, not Ohana or FCRM.

         B.     Ms. Barber Cannot Plead Essential Elements of Her Abuse
                of Process or Malicious Prosecution Claims

                1.    The Hawai‘i Supreme Court Has Expressly Ruled
                      that Settlement Proposals Cannot Support Claims for
                      Abuse of Process

                Despite Ms. Barber’s effort to paint some vague picture of an

   “improper” or “ulterior” purpose in filing the PI Motion and the instant

   lawsuit (a completely unsupportable claim), she cannot escape the rule that

   the act of filing such pleadings does not constitute an abuse of process. Such

   a claim arises only when there is some additional act or threat that is “not

   authorized by the process.” Young v. Allstate Ins. Co., 119 Hawai‘i 403,

   414-15, 198 P.3d 666, 677-78 (2008) (citation omitted; some emphasis

   added). In other words, the mere filing of a motion or complaint are

   authorized acts in the general use of the judicial process and do not, without


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   more, subject a party to liability. See id. (“Thus, more is required than the

   issuance of the process itself.”).

                It is unclear from her Opposition, but it appears that Ms. Barber

   may be arguing that a settlement proposal made by Ohana and FCRM

   satisfies the requirement for an additional act or threat outside the litigation.

   But Ms. Barber provides no explanation as to how a settlement proposal—

   that was withdrawn—could have harmed Ms. Barber or how it could

   demonstrate some overarching motive with respect to Plaintiffs’ later filing.

   In any event, Hawai‘i law is clear that settlement offers cannot meet the

   requirement for a definite act or threat outside the litigation. See Young,

   119 Haw. at 414, 198 P.3d at 677 (“Offers to settle the claims at issue in a

   case are ‘proper,’ if not encouraged, in the regular conduct of proceedings.

   A contrary rule would have a ‘devastating effect on the settlement process,’

   because parties would be wary of making settlement offers if such offers

   could provide the ‘essential ingredient’ to subject them to a second lawsuit

   for abuse of process.”).

                2.     Ms. Barber Failed to Disclose a New Ruling from the
                       Ninth Circuit That Indisputably Bars Her Claim for
                       Malicious Prosecution

                Ms. Barber’s claim for malicious prosecution requires her to

   plead that the PI Motion was terminated in her favor in such a manner that it



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   “cannot be revived.” Wong v. Cayetano, 111 Hawai‘i 462, 478, 143 P.3d 1,

   17 (2006) (citation omitted). Such termination does not occur until the

   matter has been “finally and favorably decided on appeal[.]” Id. at 483 n.11,

   143 P.3d at 22 n.11. Ms. Barber argues that this requirement has been met

   by the Ninth Circuit’s July 27, 2017 Memorandum Opinion. See Opp. at 8-

   9. In what is unquestionably an act of bad faith and a violation of

   Rule 3.3(a)(1)(3) of the Hawai‘i Rules of Professional Conduct, Ms. Barber

   fails to point out that, three weeks before she submitted her Opposition, the

   Ninth Circuit issued a second Memorandum Opinion reversing the district

   court’s denial of the PI Motion and clarifying the July 27, 2017

   Memorandum Opinion. See Barber v. Ohana Military Communities, LLC,

   728 F. App’x 749 (9th Cir. June 25, 2018) (“Thus, the district court erred

   when it interpreted our prior disposition as holding that the entire record

   failed to demonstrate a likelihood of irreparable harm for all relevant

   settlement provisions instead of limiting our ruling to the confidentiality

   provision.”). It is now undisputable that the PI Motion has not been

   terminated and is still pending. See id. (“With this clarification of the scope

   of our prior disposition, we leave it to the district court on remand to

   consider Defendants’ preliminary injunction and disqualification motions in

   the first instance.”).



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         C.     Ms. Barber’s Claim for IIED Fails as a Matter of Law

                As set forth in the MTD, a claim for intentional infliction of

   emotional distress (“IIED”) requires a showing of misconduct that meets an

   exceedingly high standard:

                    It has not been enough that the defendant
                    has acted with an intent which is tortious or
                    even criminal, or that he has intended to
                    inflict emotional distress, or even that his
                    conduct has been characterized by “malice,”
                    or a degree of aggravation which would
                    entitle the plaintiff to punitive damages for
                    another tort. Liability has been found only
                    where the conduct has been so outrageous in
                    character, and so extreme in degree, as to go
                    beyond all bounds of decency, and to be
                    regarded as atrocious, and utterly
                    intolerable in a civilized community.

   See Ross v. Stouffer Hotel Co. (Hawai‘i) Ltd., Inc., 76 Hawai‘i 454, 465 &

   n.12, 879 P.2d 1037, 1048 & n.12 (1994) (emphasis added). Here, Count

   “IV” states only that Ms. Barber “incorporates by reference all factual

   allegations” and does not provide any further facts or explanation about what

   acts were “intentional or reckless” and “outrageous” or why they would be

   considered such. See Countercl. at ¶ 35. Ms. Barber only asserts that as a

   result of Ohana and FCRM’s “actions,” she has suffered “severe, substantial

   and enduring emotional distress[.]” Id. at ¶ 36. These conclusory

   allegations are insufficient.



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                In trying to address this deficiency in her Opposition,

   Ms. Barber focuses instead on her own conduct. She suggests that she “did

   nothing more than exercise her right under a settlement agreement to

   continue informing military families of the risk of pesticide contaminated

   soils . . . .” Opp. at 9 (emphasis added). As alleged in the Complaint, Ohana

   and FCRM plainly dispute this characterization. In any event, the only

   “intentional” conduct in the Counterclaim by Ohana and FCRM is the

   allegedly improper settlement proposal. For the reasons cited in the MTD,

   and as a matter of law1, this is plainly not conduct that would be “regarded

   as atrocious, and utterly intolerable in a civilized community.”

         D.     Ms. Barber’s Attempt to Revive Her Improperly Pled NIED
                Claim Is Without Basis and Wholly Improper

                With respect to Ms. Barber’s claim for negligent infliction of

   emotional distress (“NIED”), Ms. Barber incorrectly asserts that “an injury

   to property is adequate to support a claim” for NIED. Opp. at 11. But as the

   Hawai‘i Supreme Court explained in Doe Parents No. 1 v. State, Dept. of




   1
    The question of outrageousness “is for the court in the first instance,” see
   Ross, 76 Hawai‘i at 465, 879 P.2d at 1048, and it is therefore capable of
   determination on a motion for dismiss, see, e.g., Siales v. Haw. Elec. Co.,
   Civil No. 13-00413 LEK-KSC, 2013 U.S. Dist. LEXIS 168958, *27 (D.
   Haw. Nov. 27, 2013) (granting motion to dismiss).


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   Educ., 100 Hawai‘i 34, 58 P.3d 545 (2002) (cited by Ms. Barber in the Opp.

   at 10):

                 HRS § 663–8.9 (1993)[2] . . . requires a predicate
                 physical injury to the NIED claimant before he or
                 she may recover damages for negligent infliction
                 of emotional distress, where he or she claims that
                 the psychological distress arises solely out of
                 damage to property or to material objects. . . . As
                 such, the law as it currently stands in Hawai‘i is
                 that an NIED claimant must establish, . . . that
                 someone was physically injured by the defendant's
                 conduct . . . .

   Id. at 69, 58 P.3d at 580 (citations omitted; bold emphasis added).

                 Only narrow exceptions to the predicate physical injury

   requirement have been permitted for cases that provide “the requisite

   assurance that plaintiff’s psychological distress is trustworthy and genuine.”

   Baham v. Ass’n of Apt. Owners of Opua Hale Patio Homes, No. CIV. 13-


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       HRS § 663-8.9 provides:
                    (a) No party shall be liable for the negligent
                    infliction of serious emotional distress or
                    disturbance if the distress or disturbance
                    arises solely out of damage to property or
                    material objects.
                    (b) This section shall not apply if the serious
                    emotional distress or disturbance results in
                    physical injury to or mental illness of the
                    person who experiences the emotional
                    distress or disturbance.
   (Emphasis added).


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   00669 HG-BMK, 2014 WL 2761744, at *22 (D. Haw. June 18, 2014). This

   includes claims involving a plaintiff’s “alleged actual exposure to HIV-

   positive blood, mishandling of a corpse, and negligent placement of a child

   in an environment with a child molester.” Id. at 23. Ms. Barber does not

   plead any facts that could constitute such an exception here. See id.; U.S.

   E.E.O.C. v. NCL Am., 535 F.Supp.2d 1149, 1171–72 (D. Haw. 2008).3

         E.     Ms. Barber’s Chapter 842 Claim Demonstrates the Absurd
                Nature of Her Counterclaim

                Just like in her Counterclaim, Ms. Barber’s Opposition fails to

   point to any facts that could support an “organized crime” claim under HRS

   Chapter 842. Ms. Barber baldly asserts that Plaintiffs committed “extortion”

   by filing the PI Motion and the instant lawsuit to “compel Barber to abstain

   from her right under the settlement agreement to continue informing military

   families of the risks of pesticide contaminated soils and advocating for their

   health and safety . . . .” Opp. at 12. This argument fails for at least two

   fundamental reasons.



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     In addition, although the Counterclaim does not identify any injury to
   property, Ms. Barber claims in her Opposition that she has “been forced to
   incur the expense of returning from her current home in Florida to testify at
   an evidentiary hearing in the preliminary injunction motion.” Opp. at 11.
   Ms. Barber cites no authority suggesting that an order by Judge Gillmor that
   Ms. Barber appear in person at a hearing could possibly support the
   predicate necessary for an NIED claim.

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                First, the lawful exercise of Ohana and FCRM’s legal rights

   through the PI Motion and this lawsuit cannot satisfy the definition of

   “extortion.” If it did, every lawsuit would constitute “extortion.” Second,

   even if these bare assertions were somehow enough to allege a claim of

   criminal extortion—which they plainly are not—Ms. Barber would

   nonetheless still need to allege facts that could support the predicate acts of a

   civil racketeering claim or claim under the Racketeer Influenced and Corrupt

   Organizations Act (“RICO”). See TSA Int’l Ltd. v. Shimizu Corp., 92

   Hawai‘i 243, 263, 990 P.2d 713, 733 (1999) (elements of a civil RICO claim

   include “(1) conduct (2) of an enterprise (3) through a pattern (4) of

   racketeering activity.”). Inasmuch as she does not allege any such facts, her

   claim fails. Okawaki v. First Hawaiian Bank, No. 16-00232 DKW-KSC,

   2016 WL 2858779, at *3 (D. Haw. May 16, 2016) (“The Complaint does not

   sufficiently plead any of these elements. Plaintiff does not identify the

   predicate acts that form the basis of the alleged ‘scheme of racketeering.’”).

         F.     Ms. Barber Cannot Plead That This Lawsuit Is a SLAPP
                and, In Any Event, There Is No Independent Cause of
                Action Under the SLAPP Statute

                As an initial matter, there is simply no independent cause of

   action or claim for violation of Chapter 634F. Instead, the SLAPP rules

   provide for a special procedural vehicle for filing motions to dismiss where



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   one party contends that a lawsuit constitutes a SLAPP. See Haw. Rev. Stat.

   § 634F-2; Perry v. Perez-Wendt, 129 Hawai‘i 95, 99-100, 294 P.3d 1081,

   1085-86 (App. 2013). (discussing unique procedural aspects of Chapter

   634F). The Court’s analysis should stop here.

                In addition, and as discussed in the MTD, Ms. Barber has failed

   to plead either of the elements of a SLAPP—i.e., that the instant lawsuit “(1)

   ‘lacks substantial justification or is interposed for delay or harassment[;]’

   and (2) ‘is solely based on the party’s public participation before a

   governmental body.’” Perry, 129 Hawai‘i at 100, 294 P.3d at 1086. In her

   Opposition, Ms. Barber asserts that the allegations in her Statement of Facts

   satisfy these requirements, but she makes absolutely no attempt to explain

   why that would be to the case. Nor does she cite a single case that has held

   that similar facts constitute a SLAPP. There is absolutely no factual

   allegation (as opposed to legal conclusion) that the instant lawsuit “lacks

   substantial justification or is interposed for delay or harassment” (indeed,

   this Court recently concluded that it should not be dismissed). Second, the

   lawsuit is not based on Ms. Barber’s “public participation before a

   governmental body”—i.e., her testimony before the District Court in

   connection with the PI Motion—it is based upon her conduct prior to that




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   proceeding where she used social media to encourage MCBH residents to

   file lawsuits against Ohana and FCRM. See generally Compl.

            G.   Ms. Barber Admits Her Claim for Vexatious Litigation
                 Should Be Dismissed

                 Because Ms. Barber admits that a vexatious litigant under HRS

   Chapter 634J must be a natural person, her claim should be dismissed with

   prejudice. There are no facts that Ms. Barber could later allege that could

   transform Ohana and FCRM into natural persons so as to maintain such a

   claim.

            H.   The Act of Filing a Lawful Motion or Lawsuit Cannot
                 Constitute an Invasion of Privacy

                 The entirety of Ms. Barber’s claim in Count “XIII” is that

   Plaintiffs “have intruded upon [Ms. Barber’s] seclusion, have publicly

   disclosed private facts and portrayed [Ms. Barber] in a false light.”

   Countercl. at ¶ 57. This is nothing more than a string of conclusions, and it

   cannot support a cause of action.

                 Ms. Barber’s Opposition similarly fails to identify any factual

   allegations that could support a claim for invasion of privacy. Ms. Barber

   argues that the act of filing the PI Motion and instant lawsuit somehow

   constituted an intrusion upon her seclusion, but she fails to explain how this

   could possibly be the case. The mere filing of a lawsuit or a motion cannot,



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   in and of itself, be enough to support a claim for invasion of privacy. If this

   were the case, then, just like Ms. Barber’s theory on “extortion,” there would

   be an “invasions of privacy” every time a lawsuit was filed or a motion was

   brought. By failing to assert any other facts to support any of the three

   elements of her claim, see Taylor v. Franco, No. CIV. 09-00002 JMS, 2011

   WL 2118270, at *7 (D. Haw. May 2, 2011), Ms. Barber has failed to

   property plead her claim.

                In this same vein, Ms. Barber asserts that the Counterclaim

   alleges a claim of false light, but she again fails to identify any facts set forth

   in the Counterclaim that could support the elements of this claim. It is not

   enough to conclude that, “[t]he actions of OMC as alleged in the

   counterclaim are highly offensive to Barber and place her in a false light

   before the public as someone who allegedly disseminates inaccurate

   information on social media.” Opp. at 14. What actions? How do these

   actions satisfy any of the required elements? Moreover, and as explained in

   the MTD, how could Ms. Barber’s own public comments made on her

   numerous public social media platforms place her in a false light?

   Ms. Barber has plainly failed to properly plead these claims.




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         I.     Ms. Barber Has Not Pled a Violation of Her Civil Rights

                Ms. Barber fails to point to any factual allegations that could

   support her conclusion that Ohana and FCRM “wrongfully pursu[ed] claims

   against her” in violation of her civil rights. Countercl. at ¶ 60. What

   specific actions were taken by Ohana and/or FCRM and how did these

   actions foreclose her civil rights? What civil rights were violated? Instead

   of identifying any such facts in her Opposition, Ms. Barber misconstrues

   Ohana and FCRM’s point that the settlement agreement foreclosed some of

   her rights to speak about certain details of the settlement, and that she

   therefore needs to make some allegations beyond that. Because she has

   not, her claim must be dismissed.4

         J.     Ms. Barber’s “Wrongful Settlement” Claim Makes No
                Sense

                As identified in the MTD, it is initially unclear what claim

   Ms. Barber is trying to maintain in this count, or what relief she is claiming

   she is entitled to. For instance, does she contend that a provision of the


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     In an attempt to cure the Counterclaim’s failure to allege any basis for
   bringing a constitutional claim against private entities such as Ohana and
   FCRM, Ms. Barber asserts that the Navy is a member of Ohana and Ohana
   is thus a “public/private enterprise.” Opp. at 15. She does not allege how or
   if the Navy was involved in any of the challenged conduct, and she makes
   no claims regarding FCRM. See Roberts v. AT&T Mobility LLC, 877 F.3d
   833, 837 (9th Cir. 2017) (“A threshold requirement of any constitutional
   claim is the presence of state action.”).

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   settlement agreement is void or unenforceable, or that the settlement

   agreement was procured by fraud or duress?

                In her Opposition, Ms. Barber asserts that her claim arises from

   certain documents not having been produced in Barber I, which “wrongfully

   induced” her to settle. Opp. at 15. She then asserts that, “a party is not

   immune from liability for civil damages based on that party’s fraud engaged

   in during prior litigation proceedings.” Id. (emphasis added). Ms. Barber

   indisputably fails to plead with any particularity the requirements of fraud—

   namely, “the times, dates, places, or other details of the alleged fraudulent

   activity.” Soriano v. Wells Fargo Bank, N.A., No. CIV. 11-00044 SOM,

   2012 WL 1536065, at *11 (D. Haw. Apr. 30, 2012). Nor does she even

   identify the allegedly withheld documents. Nor does she allege how they

   would have impacted any settlement. Count “XV” does not remotely

   resemble a properly pled claim.




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   III.   CONCLUSION

               For all the foregoing reasons, Ohana and FCRM respectfully

   request that the Court dismiss Ms. Barber’s Counterclaim.

                DATED: Honolulu, Hawai‘i, July 20, 2018.

                                    /s/ Randall C. Whattoff
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